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           UNITED STATES DISTRICT COURT
                                    District of Kansas
                                    (TOPEKA DOCKET)

UNITED STATES OF AMERICA,

                       Plaintiff,

               v.                                                           40091   DDC
                                                               Case No. 19-_______-___

JARRETT WILLIAM SMITH,

                       Defendant.


                                 INDICTMENT
THE GRAND JURY CHARGES:

                                             COUNT 1

                              (Distributing Explosives Information)

       On or about September 20, 2019, in the District of Kansas and elsewhere within the

jurisdiction of the Court, the defendant,

                                 JARRETT WILLIAM SMITH,

knowingly and unlawfully distributed by any means information pertaining to, in whole and in

part, the manufacture and use of an explosive, destructive device, and a weapon of mass

destruction, namely detailed six-step instructions for constructing an explosive device, with the

intent that the information be used for, and in furtherance of an activity that constitutes a federal

crime of violence, including violations of 18 U.S.C. § 2332a (use or attempt to use a weapon of

mass destruction).
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          All in violation of Title 18, United States Code, Sections 2 and 842(p)(2)(A).

                                             COUNT 2

                             (Distributing Explosives Information)

       On or about September 20, 2019, in the District of Kansas and elsewhere within the

jurisdiction of the Court, the defendant,

                                 JARRETT WILLIAM SMITH,

knowingly and unlawfully distributed by any means information pertaining to, in whole and in

part, the manufacture and use of an explosive, destructive device, and a weapon of mass

destruction, namely a recipe for improvised napalm, with the intent that the information be used

for, and in furtherance of an activity that constitutes a federal crime of violence, including

violations of 18 U.S.C. § 2332a (use or attempt to use a weapon of mass destruction).

       All in violation of Title 18, United States Code, Sections 2 and 842(p)(2)(A).

                                             COUNT 3

                            (Threatening Interstate Communication)

       On or about September 20, 2019, in the District of Kansas and elsewhere within the

jurisdiction of the Court, the defendant,

                                 JARRETT WILLIAM SMITH,

knowingly and willfully transmitted in interstate and foreign commerce from the State of Kansas

to the State of Michigan, a communication describing a plan to attack a specific home and

recommending a specific product or device to use in gaining entry to that home, and the

communication contained a threat to injure D.H. (whose identity is known to the Grand Jury),

specifically by threatening to set fire to the home belonging to D.H.

       All in violation of Title 18, United States Code, Sections 2 and 875(c).


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                                              A TRUE BILL.

Dated: September 25, 2019                             s/Foreperson
                                                      FOREPERSON


s/ Anthony W. Mattivi, #17082 for
STEPHEN R. MCALLISTER
United States Attorney
District of Kansas
500 State Ave., Suite 360
Kansas City, KS 66101
(913) 551-6730
(913) 551-6541 (fax)
stephen.mcallister@usdoj.gov
Ks. S. Ct. No. 15845

(It is requested that trial of the above captioned case be held in Topeka, Kansas.)




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PENALTIES:

Cts. 1 & 2:   18 U.S.C. § 842(p)

       #      NMT 20 Years Imprisonment,
       #      NMT $250,000 Fine,
       #      NMT 5 Years Supervised Release, and
       #      $100 Special Assessment

Count 3:      18 U.S.C. § 875(c)

       #      NMT 5 Years Imprisonment,
       #      NMT $250,000 Fine,
       #      NMT 3 Years Supervised Release, and
       #      $100 Special Assessment
